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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 17-CR-00334-CMA-1

UNITED STATES OF AMERICA,

        Plaintiff,

v.

1. MARCO CASTRO-CRUZ,
     a/k/a Guero,

     Defendant.


          ENTRY OF APPEARANCE AS SPECIAL ATTORNEY
                      TO THE ATTORNEY GENERAL
______________________________________________________________________

        Assistant United States Attorney Bradley W. Giles respectfully enters his

appearance in the above captioned and styled case as Special Attorney to the United

States Attorney General pursuant to 28 U.S.C. § 515, having been appointed in the

matter of cases concerning the distribution of heroin resulting in the death of Mr. Kaleb

Skog in 2013. The attached copy of the June 20, 2017 letter from Valerie D. Mulcahy,

Assistant Director, Human Resources Staff, Operations Division, Executive Office for

United States Attorneys, U.S. Department of Justice, is filed with the Clerk of the Court,

indicating the continued extension of AUSA Giles’ appointment.

        Respectfully submitted this 2nd day of February, 2018.
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                        ROBERT C. TROYER
                        United States Attorney

                        BY: Bradley W. Giles
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                              CERTIFICATE OF SERVICE

      I hereby certify that on this February 2, 2018, I electronically filed the foregoing
ENTRY OF APPERANCE with the Clerk of Court using the CM/ECF system which will
send notification of such filing to all parties of record.


                            BY: Bradley W. Giles
                            Bradley W. Giles
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